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                                                        Amy Berman Jackson
                                                           April 8, 2024
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